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                                     FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

                 NUTRITION DISTRIBUTION LLC, an                    No. 19-55251
                 Arizona Limited Liability Company,
                                  Plaintiff-Appellant,               D.C. No.
                                                                  2:15-cv-08233-
                                      v.                               R-JC

                 IRONMAG LABS, LLC, a Nevada
                 Limited Liability Company; ROBERT                    OPINION
                 DIMAGGIO, an individual; IRON MAG
                 RESEARCH, a Nevada limited liability
                 company,
                                Defendants-Appellees.

                          Appeal from the United States District Court
                             for the Central District of California
                           Manuel L. Real, District Judge, Presiding

                                    Submitted May 5, 2020 *
                                     Pasadena, California

                                      Filed August 25, 2020

                        Before: Milan D. Smith, Jr., Bridget S. Bade, and
                                Daniel A. Bress, Circuit Judges.

                                     Opinion by Judge Bress

                    *
                     The panel unanimously concludes this case is suitable for decision
                without oral argument. See Fed. R. App. P. 34(a)(2).
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                                          SUMMARY **


                          Appellate Jurisdiction / Attorneys’ Fees

                    The panel dismissed as untimely plaintiff’s appeal from
                the district court’s judgment and affirmed the district court’s
                post-judgment denial of attorneys’ fees in an action under
                the Lanham Act.

                    On November 16, 2018, on cross motions for summary
                judgment, the district court rejected plaintiff’s claim for
                monetary relief, issued an injunction in favor of plaintiff, and
                denied plaintiff’s request for attorneys’ fees under the
                Lanham Act. On December 13, 2018, the district court
                issued findings of fact and conclusions of law and entered
                judgment. On December 27, 2018, plaintiff moved for
                attorneys’ fees under Federal Rule of Civil Procedure 54(d).
                The district court denied the post-judgment fees motion on
                January 30, 2019, and plaintiff filed a notice of appeal on
                March 1, 2019, within 30 days of the ruling on the fees
                motion.

                    Under Federal Rule of Appellate Procedure 4(a)(1)(A),
                a notice of appeal must be filed within 30 days after entry of
                the judgment or order appealed from. The panel held that
                the notice of appeal was untimely as to the district court’s
                judgment because the motion for attorneys’ fees did not
                itself extend the time to appeal, and the district court did not
                enter an order extending the time pursuant to Rule 58.
                Further, agreeing with the Sixth Circuit, the panel held that

                    **
                       This summary constitutes no part of the opinion of the court. It
                has been prepared by court staff for the convenience of the reader.
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                the fees motion could not be recharacterized as a Rule 59
                motion to alter or amend the judgment for purposes of
                extending the time to appeal.

                    The panel held that the notice of appeal was timely as to
                the district court’s later order denying attorneys’ fees. The
                panel held that the district court properly exercised its
                discretion in denying fees under the Lanham Act, which
                allows an award of attorneys’ fees in exceptional cases.


                                         COUNSEL

                Robert Tauler, Tauler Smith LLP, Los Angeles, California,
                for Plaintiff-Appellant.

                Treg A. Julander, Ostergar Law Group PC, Irvine,
                California, for Defendants-Appellees.


                                         OPINION

                BRESS, Circuit Judge:

                    Although appellant did not file this appeal to present the
                question whether its notice of appeal was timely, that is now
                the principal issue we must resolve. Generally, a notice of
                appeal in a civil case must be filed “within 30 days after
                entry of the judgment or order appealed from.” Fed. R. App.
                P. 4(a)(1)(A). After the district court entered judgment in
                this case, appellant could have filed a notice of appeal within
                30 days but did not. Instead, appellant filed a post-judgment
                motion for attorneys’ fees under Federal Rule of Civil
                Procedure 54(d) and then filed a notice of appeal 30 days
                after the district court denied that fees motion. The notice of
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                appeal purported to appeal both the later denial of fees and
                the underlying judgment, which by that point had been
                entered 78 days prior.

                    We hold that the notice of appeal was untimely as to the
                district court’s underlying judgment. The Federal Rules are
                clear that “[o]rdinarily, the entry of judgment may not be
                delayed, nor the time for appeal extended, in order to tax
                costs or award fees.” Fed. R. Civ. P. 58(e). A motion for
                attorneys’ fees does not extend the time to appeal the
                underlying judgment unless the district court so orders under
                Rule 58(e). In this case, appellant did not seek such an order,
                nor did the district court enter one. Appellant’s attempt to
                now save its untimely appeal of the underlying judgment by
                recasting its fees motion as a Rule 59 motion to alter or
                amend the judgment likewise fails. The 1993 amendments
                to the Federal Rules and the Supreme Court precedent that
                gave rise to them make clear that attorneys’ fees motions
                cannot be recharacterized as Rule 59 motions to extend the
                time to appeal an underlying judgment.

                   Because appellant did not file a notice of appeal within
                30 days of the district court’s judgment or obtain a Rule
                58(e) order extending the time to appeal, the notice of appeal
                was untimely as to the district court’s underlying judgment.
                The notice of appeal was timely as to the district court’s later
                order denying attorneys’ fees. We affirm the denial of fees,
                and otherwise dismiss the appeal for lack of jurisdiction.

                                               I

                    Appellant Nutrition Distribution LLC filed over eighty
                false advertising lawsuits between 2015 and 2018. This is
                one of them. Here, Nutrition Distribution alleged that
                Appellee IronMag Labs, LLC violated the Lanham Act,
                15 U.S.C. §§ 1051–1141n, by falsely advertising IronMag’s
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                nutritional supplements as having “no toxicity” or
                “unwanted side effects.”

                    Following discovery, the parties cross moved for
                summary judgment. On November 16, 2018, the district
                court granted in part and denied in part the motions. The
                district court rejected Nutrition Distribution’s claim for
                monetary relief because there was “no genuine dispute of
                fact regarding whether [Nutrition Distribution] ha[d] shown
                any injury caused by” IronMag’s advertising. But the
                district court issued an injunction because IronMag’s
                statements were likely to deceive consumers. In the same
                order, the district court denied Nutrition Distribution’s
                request for attorneys’ fees, finding that the case was not
                “exceptional,” as required for an award of fees under the
                Lanham Act. See 15 U.S.C. § 1117(a).

                    On December 13, 2018, the district court issued findings
                of fact and conclusions of law consistent with its November
                16, 2018 order. The district court also entered judgment that
                same day in a separate document. See Fed. R. Civ. P. 58(a).
                Nutrition Distribution did not file a notice of appeal at this
                time.

                    Instead, on December 27, 2018, Nutrition Distribution
                filed a motion for attorneys’ fees under Federal Rule of Civil
                Procedure 54(d). Like its prior fee request, Nutrition
                Distribution argued that the case was “exceptional” under
                the Lanham Act. The district court denied Nutrition
                Distribution’s post-judgment fees motion on January 30,
                2019.

                    Nutrition Distribution filed a notice of appeal on
                March 1, 2019, within 30 days of the ruling on the fees
                motion. The notice of appeal purported to appeal both the
                district court’s underlying December 13, 2018 judgment and
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                its January 30, 2019 denial of attorneys’ fees. In this court,
                IronMag moved to dismiss the appeal as untimely. After a
                motions panel denied that request without prejudice,
                IronMag renewed the argument in its answering brief.

                                              II

                    “A timely notice of appeal is a non-waivable
                jurisdictional requirement.” Stephanie-Cardona LLC v.
                Smith’s Food & Drug Ctrs., Inc., 476 F.3d 701, 703 (9th Cir.
                2007). If the time to appeal ran from the December 13, 2018
                entry of judgment, Nutrition Distribution’s appeal of that
                judgment is untimely. If, however, the time to appeal was
                extended until the district court disposed of Nutrition
                Distribution’s motion for attorneys’ fees, its appeal of the
                underlying judgment is timely.

                    We hold that Nutrition Distribution’s appeal of the
                December 13, 2018 judgment is untimely and dismiss it for
                lack of jurisdiction. We take this opportunity to address the
                rules and precedents that compel this conclusion, for the
                benefit of litigants who wish to ensure the timeliness of their
                appeals in cases involving post-judgment motions for
                attorneys’ fees.

                                              A

                    The Federal Rules of Appellate and Civil Procedure
                work in combination to set forth the rules governing when
                notices of appeal must be filed. Typically, a notice of appeal
                in a civil case “must be filed with the district clerk within
                30 days after entry of the judgment or order appealed from.”
                Fed. R. App. P. 4(a)(1)(A). The time to appeal generally
                runs from the entry of judgment. Fed. R. App. P.
                4(a)(7)(A)(ii); see Fed. R. Civ. P. 58(a).
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                    But rules often have exceptions. As relevant here,
                Federal Rule of Appellate Procedure 4(a) specifies that the
                time to file a notice of appeal is extended if a party timely
                files certain qualifying motions in the district court:

                       (A) If a party files in the district court any of
                       the following motions under the Federal
                       Rules of Civil Procedure—and does so
                       within the time allowed by those rules—the
                       time to file an appeal runs for all parties from
                       the entry of the order disposing of the last
                       such remaining motion:

                       ...

                             (iii) for attorney’s fees under Rule 54 if
                             the district court extends the time to
                             appeal under Rule 58; [or]

                             (iv) to alter or amend the judgment under
                             Rule 59;

                       ....

                Fed. R. App. P. 4(a)(4)(A).

                    Rule 4(a)(4)(A) lists various other qualifying motions,
                but for ease of exposition we have quoted above the ones
                that matter here. It is important to see that this Rule treats
                motions for attorneys’ fees differently from other qualifying
                motions, the filing of which extends the time to appeal: an
                attorneys’ fees motion, unlike the other motions listed,
                requires additional action by the district court. Specifically,
                the time to file an appeal runs from the denial of an
                attorneys’ fees motion “if the district court extends the time
                to appeal under Rule 58.” Fed. R. App. P. 4(a)(4)(A)(iii)
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                (emphasis added). That is a reference to Federal Rule of
                Civil Procedure 58(e), which states:

                        Ordinarily, the entry of judgment may not be
                        delayed, nor the time for appeal extended, in
                        order to tax costs or award fees. But if a
                        timely motion for attorney’s fees is made
                        under Rule 54(d)(2), the court may act before
                        a notice of appeal has been filed and become
                        effective to order that the motion have the
                        same effect under Federal Rule of Appellate
                        Procedure 4(a)(4) as a timely motion under
                        Rule 59.

                Fed. R. Civ. P. 58(e).

                     Together, Rule 58(e) and Federal Rule of Appellate
                Procedure 4(a)(4)(A)(iii) give district courts the ability to
                ensure that an attorneys’ fees request is treated like a Rule
                59 motion for purposes of extending the time for filing a
                notice of appeal. See, e.g., Ray Haluch Gravel Co. v. Cent.
                Pension Fund of Int’l Union of Operating Eng’rs &
                Participating Emps., 571 U.S. 177, 186–87 (2014); Moody
                Nat’l Bank of Galveston v. GE Life & Annuity Assurance
                Co., 383 F.3d 249, 252–53 (5th Cir. 2004). As noted above,
                filing a Rule 59 motion extends the time for filing a notice
                of appeal, so that the deadline to appeal runs from the order
                disposing of the Rule 59 motion. See Fed. R. App.
                P. 4(a)(4)(A)(iv).

                    Rule 58(e) was added to the Federal Rules in 1993. 1 As
                the Advisory Committee explained, “[t]his revision permits,

                    1
                      The 1993 amendments housed this provision in Rule 58(c)(2), but
                it was later relocated to Rule 58(e) by the 2007 amendments to the
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                but does not require, the court to delay the finality of the
                judgment for appellate purposes under revised Fed. R. App.
                P. 4(a) until the fee dispute is decided.” Fed. R. Civ. P. 58,
                adv. comm. note (1993). To obtain such an extension
                “requires entry of an order by the district court before the
                time a notice of appeal becomes effective for appellate
                purposes.” Id. The upshot is that a motion for attorneys’
                fees does not extend the time to appeal “unless a district
                court, acting under Rule 58, enters an order extending the
                time for appeal.” Fed. R. App. P. 4, adv. comm. note (1993);
                see also Stephanie-Cardona, 476 F.3d at 705 (“The time to
                appeal is not extended unless the district court, pursuant to
                its authority under Fed. R. Civ. P. 58[(e)], orders that an
                attorney’s fees motion has the effect of delaying the clock
                for filing the notice of appeal.”); Moody, 383 F.3d at 252 (“In
                1993, Appellate Rule 4(a)(4) was amended to include among
                the motions that will toll the time for filing a notice of appeal
                motions for attorney’s fees under Rule 54 if the district court
                extends the time to appeal under Rule 58.”).

                     Once judgment is entered, and absent the filing of a
                different qualifying motion that would extend the time for
                filing a notice of appeal, a party who has moved for
                attorneys’ fees has two main options for ensuring a timely
                appeal of the underlying judgment:

                         First, [a party] may appeal the fee award as it
                         would any final judgment. . . . If the party
                         ha[s] also appealed the underlying merits
                         judgment—as is usually the case—the two
                         appeals would proceed independently, but

                Federal Rules. See Heck v. Triche, 775 F.3d 265, 275 n.9 (5th Cir. 2014).
                For ease of reference, we refer to the rule as Rule 58(e) throughout this
                opinion.
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                         either party could petition for consolidation
                         [in the court of appeals]. Second, the party
                         could move under Fed. R. Civ. P. 58 to
                         enlarge the time to appeal the underlying
                         judgment until the fee judgment is rendered.
                         The party could then appeal the merits
                         judgment and the fee award together.

                Cal. Med. Ass’n v. Shalala, 207 F.3d 575, 576 (9th Cir.
                2000) (citations omitted). The first option requires two
                notices of appeal, the second option just one.

                    Perhaps due to a healthy lawyerly paranoia for missing
                deadlines, common experience indicates that many litigants
                choose the first option. Consolidating the appeals in this
                circumstance is straightforward, and there is no penalty for
                timely (but separately) appealing a judgment and a later-
                issued fee decision. See Fed. R. App. P. 4(a)(4)(B)(i). 2


                     2
                       Premature notices of appeal once created serious problems. Before
                1993, the Federal Rules of Appellate Procedure provided that a notice of
                appeal “shall have no effect” if it was filed before the district court ruled
                on a qualifying post-judgment motion that extended the time to appeal.
                Fed. R. App. P. 4(a)(4)(A) (1979). This created a “dire trap for the
                unwary,” because a litigant who failed to file a new notice of appeal after
                a post-judgment motion was adjudicated “lost [its] chance to appeal.”
                16A Charles Alan Wright et al., Federal Practice & Procedure § 3950.4,
                at 366 (5th ed. 2019) (“Wright & Miller”); see also Orr v. Plumb,
                884 F.3d 923, 927 (9th Cir. 2018) (explaining that confusion over a
                judgment’s finality “could have harsh consequences, particularly with
                the rule then in effect that a premature notice of appeal was ineffectual
                if certain post-decision motions were also filed”). The 1993 amendments
                to the Federal Rules cured this problem by allowing a previously-filed
                notice of appeal to become effective after the district court’s adjudication
                of a qualifying post-judgment motion. See Fed. R. App. P. 4(a)(4)(B)(i);
                Fed. R. App. P. 4(a)(2); Wright & Miller § 3950.4, at 366–67. As
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                                                  B

                    Nutrition Distribution did not file a notice of appeal
                within 30 days of the district court’s December 13, 2018
                judgment. Nutrition Distribution also did not file a motion
                under Rule 58(e) seeking an order that the time to appeal
                should run from the disposition of its post-judgment
                attorneys’ fees motion. Nor did the district court enter such
                an order. This leaves Nutrition Distribution in the
                unenviable position of asking that its motion for attorneys’
                fees—which was clearly styled as such and requested fees
                under Rule 54(d)—be recharacterized as a motion to alter or
                amend the judgment under Rule 59.

                    Our cases allow us to reconstrue a motion filed in the
                district court as part of ascertaining whether an appeal is
                timely. See, e.g., United States ex rel. Hoggett v. Univ. of
                Phx., 863 F.3d 1105, 1108 (9th Cir. 2017) (“A motion’s
                ‘nomenclature is not controlling.’ Instead, ‘we construe [the
                motion], however styled, to be the type proper for the relief
                requested.’”) (alteration in original) (quoting Miller v.
                Transamerican Press, Inc., 709 F.2d 524, 527 (9th Cir.
                1983)). And if Nutrition Distribution’s Rule 54(d) motion
                for attorneys’ fees could be recharacterized as a Rule 59
                motion, the appeal of the district court’s underlying
                judgment would be timely, because a Rule 59 motion
                extends the time for filing an appeal. Fed. R. App. P.
                4(a)(4)(A)(iv).

                    It should be clear that Nutrition Distribution’s argument,
                if accepted, would facilitate an end-run around Rule 58(e).


                discussed below, several of the older precedents involving Rule 59 were
                decided in the prior regime in which premature notices of appeal were
                ineffective.
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                Rather than having to seek the district court’s permission
                that the time to file a notice of appeal run from the later
                disposition of the post-judgment fees motion, see Fed. R.
                Civ. P. 58(e), Nutrition Distribution would grant itself an
                extension through the expedient of recharacterizing its own
                motion for attorneys’ fees. The whole point of Rule 58(e) is
                to allow—but not require—district courts to treat attorneys’
                fees motions as having “the same effect” as a Rule 59 motion
                for purposes of filing a notice of appeal. Ray Haluch Gravel
                Co., 571 U.S. at 186–87. Nutrition Distribution would
                instead make Rule 58(e)’s procedure advisory. It is hard to
                imagine this is what the drafters of the 1993 amendments to
                the Federal Rules had in mind.

                    But, as it happens, this is not what they had in mind: the
                1993 amendments to the Federal Rules are based on
                Supreme Court cases that make clear that attorneys’ fees
                motions cannot be recharacterized as Rule 59 motions to
                alter or amend the judgment. In White v. New Hampshire
                Department of Employment Security, 455 U.S. 445 (1982),
                the Supreme Court rejected the view that a post-judgment
                motion for attorneys’ fees under 42 U.S.C. § 1988 was a
                motion to alter or amend the judgment under Rule 59. The
                Court held that “[a] motion for attorney’s fees is unlike a
                motion to alter or amend a judgment” because “[i]t does not
                imply a change in the judgment, but merely seeks what is
                due because of the judgment.” Id. at 452 (quotations
                omitted). For this reason, “the federal courts generally have
                invoked Rule 59(e) only to support reconsideration of
                matters properly encompassed in a decision on the merits.”
                Id. at 451. Unlike a post-judgment motion on the merits, “a
                request for attorney’s fees under § 1988 raises legal issues
                collateral to the main cause of action—issues to which Rule
                59(e) was never intended to apply.” Id.
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                    Several years later, in Buchanan v. Stanships, Inc.,
                485 U.S. 265 (1988) (per curiam), the Supreme Court held
                that a post-judgment motion for costs could not be treated as
                a Rule 59 motion to alter or amend the judgment. Relying
                on White, the Court explained that like fees, the
                “[a]ssessment of such costs does not involve reconsideration
                of any aspect of the decision on the merits.” Id. at 268. The
                Supreme Court made clear that the Federal Rules reflected
                “[a] sharp distinction between the judgment on the merits
                and an award of costs under Rule 54(d),” reiterating that “a
                request for costs raises issues wholly collateral to the
                judgment in the main cause of action.” Id. at 268–69.

                    Building further on White, the Supreme Court made this
                same point again in Budinich v. Becton Dickinson & Co.,
                486 U.S. 196 (1988), holding that a post-judgment motion
                for attorneys’ fees did not prevent a judgment from
                becoming final. It is “indisputable,” the Court explained,
                “that a claim for attorney’s fees is not part of the merits of
                the action to which the fees pertain.” Id. at 200. For that
                reason, “[c]ourts and litigants are best served by the bright-
                line rule, which accords with traditional understanding, that
                a decision on the merits is a ‘final decision’ for purposes of
                [28 U.S.C.] § 1291 whether or not there remains for
                adjudication a request for attorney’s fees attributable to the
                case.” Id. at 202–03.

                    Our precedents are in accord, recognizing “Budinich’s
                emphasis on the need for a bright-line rule” based on the
                overarching principle that attorneys’ fees “associated with
                the litigation at hand are indeed always collateral.” U.S. for
                Use & Benefit of Familian Nw., Inc. v. RG & B Contractors,
                Inc., 21 F.3d 952, 955 (9th Cir. 1994) (emphasis added).
                Indeed, we had reached substantially the same conclusion
                even before Budinich was decided.
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                    In Durham v. Kelly, 810 F.2d 1500 (9th Cir. 1987), a
                district court entered final judgment on the merits and
                simultaneously ordered the parties to bear their own costs.
                Id. at 1502. The plaintiff then filed a post-judgment motion
                for costs under Rules 54 and 59 and a notice of appeal, and
                the district court ruled on the costs request. Id. As noted
                above, ante at 10 n.2, at the time the Federal Rules provided
                that if a party filed a Rule 59 motion, a notice of appeal filed
                before a ruling on that motion “shall have no effect.” Fed.
                R. App. P. 4(a)(4)(A) (1979). The question in Durham was
                thus whether the plaintiff should have filed a second notice
                of appeal because its costs motion was styled as a motion
                under Rule 59.

                    Relying on White, we held that the costs motion was not
                a Rule 59 motion. And we “adopt[ed] as the law of this
                circuit the rule that a motion to alter or amend a judgment to
                award costs does not come within Rule 59(e).” Durham,
                810 F.2d at 1503. Of note, the Supreme Court in Buchanan
                identified Durham as being on the prevailing side of the
                circuit split that the Court addressed in that case. See
                Buchanan, 485 U.S. at 267.

                    The Supreme Court precedent discussed above provides
                the basis for the current state of the Federal Rules.
                Following Budinich, the Federal Rules were amended in
                1993 to codify Budinich’s bright-line rule. The addition of
                Federal Rule of Civil Procedure 58(e) and related changes to
                Federal Rule of Appellate Procedure 4(a)(4) make plain that
                a motion for attorneys’ fees will not extend the time to appeal
                unless the district court specifically says so. As the 1993
                Advisory Committee Notes to Federal Rule of Appellate
                Procedure 4(a)(4) explained, “[t]o conform to a recent
                Supreme Court decision, however—Budinich v. Becton
                Dickinson and Co., 486 U.S. 196 (1988)—the amendment
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                excludes motions for attorney’s fees from the class of
                motions that extend the filing time unless a district court,
                acting under Rule 58, enters an order extending the time for
                appeal.” Fed. R. App. P. 4, adv. comm. note (1993); see also
                Fed. R. Civ. P. 58, adv. comm. note (1993) (citing Budinich
                as the background to the addition of Rule 58(e)); Heck,
                775 F.3d at 273 (“In 1993, Congress amended FRAP 4(a)(4)
                to conform to Budinich.”).

                    Under this framework, Nutrition Distribution’s post-
                judgment motion for attorneys’ fees cannot be treated as a
                Rule 59 motion to alter or amend the judgment. The text of
                the relevant rules distinguishes between motions for
                attorneys’ fees under Rule 54 and motions under Rule 59.
                See Fed. R. App. P. 4(a)(4)(A)(iii)–(iv); Fed. R. Civ. P.
                58(e). And White, Buchanan, and Budinich establish that
                Rule 59 does not extend to issues “collateral” to the merits
                of a case, such as a post-judgment motion for attorneys’ fees.
                See White, 455 U.S. at 451–52; Buchanan, 485 U.S. at 268;
                Budinich, 486 U.S. at 200–03. Indeed, the Supreme Court
                reiterated this core principle just this Term. See Banister v.
                Davis, 140 S. Ct. 1698, 1703 (2020) (quoting White for the
                proposition that Rule 59 generally has “only” been used to
                reconsider “matters properly encompassed in a decision on
                the merits” (quotations omitted)). The 1993 Amendments to
                the Federal Rules and the Supreme Court precedent upon
                which they were premised thus prohibit us from
                recharacterizing Nutrition Distribution’s attorneys’ fees
                motion as a motion under Rule 59.

                                              C

                    Against all of this, Nutrition Distribution offers three
                arguments for why, under the circumstances of this case, we
                should construe its fees motion as one under Rule 59. None
                of these arguments is persuasive.
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                                                 1

                    Nutrition Distribution first cites Whittaker v. Whittaker
                Corp., 639 F.2d 516 (9th Cir. 1981), 3 and Munden v. Ultra-
                Alaska Associates, 849 F.2d 383 (9th Cir. 1988), for the
                proposition that a fees motion is a motion under Rule 59
                when it substantively challenges whether fees should be
                awarded “at all.” But Whittaker and Munden did not involve
                fees motions and they both predated Rule 58(e). They are
                also not easily squared with the Supreme Court decisions
                discussed above.

                     Whittaker involved a judgment in which the district court
                also “included [an] award of costs to the plaintiffs” “as the
                prevailing party.” 639 F.2d at 520. After judgment was
                entered, but before the time to appeal expired, the defendant
                moved to have the parties bear their own costs, arguing that
                it, and “not the plaintiffs, should be considered the prevailing
                party.” Id. The district court denied the motion. Id. After
                learning that the plaintiffs would argue that the time to
                appeal ran from the date judgment was initially entered—
                and not the date of the district court’s costs order—the
                defendant asked the district court to “determin[e] that the
                motion to retax costs had extended the time for filing a notice
                of appeal since it was a Fed. R. Civ. P. 59(e) motion to alter
                or amend the judgment.” Id. The district court did so and
                ordered the defendant’s notice of appeal accepted for filing.
                Id.

                    On appeal, we held that the defendant’s costs motion
                extended the time to appeal and could be construed as a
                motion under Rule 59. Whittaker explained that “[f]or

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                      Whittaker was abrogated on grounds not relevant here in Credit
                Suisse Securities (USA) LLC v. Simmonds, 566 U.S. 221 (2012).
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                substantive challenges as to the appropriateness of awarding
                costs at all, especially where such challenge involves a
                redetermination of who was the prevailing party, Rule 59(e)
                may be appropriate.” Id. at 521. Because the defendant’s
                motion “went to the heart of how the judgment was to be
                characterized”—and the district court was “surely in a
                position to understand the ramifications of the motion”—we
                held that the defendant’s motion to re-tax costs was
                “correctly construed as a Rule 59(e) motion” and thus
                “extended the time for filing the notice of appeal.” Id.

                    Munden reflected a similar analysis. The plaintiff in
                Munden recovered damages in a judgment that also awarded
                “prejudgment interest from the date of injury.” 849 F.2d at
                384–85. After judgment was entered, the defendants moved
                to “deny [the plaintiff] prejudgment interest that had accrued
                after the expiration of an offer of judgment” and also “to
                amend the court’s findings of fact and judgment.” Id. at 385.
                The district court rejected the defendants’ prejudgment
                interest argument, but “modified its damages calculation,
                incorporated new conclusions, and amended its findings.”
                Id. The district court thereafter entered an amended
                judgment. Id.

                    In response, the defendants filed a further “Motion to
                Amend Form of Judgment,” again asking the district court
                “to delete those costs awarded . . . that were incurred after
                the offer of judgment” and to award defendants their post-
                offer costs. Id. While the defendants’ motion was pending,
                the plaintiff filed a notice of appeal. Id. After the appeal
                was filed, the district court granted the defendants’ renewed
                motion in an order titled “Order (Motion to Amend
                Judgment Granted),” deleting costs accrued after the
                defendants’ settlement offer and “award[ing] certain costs to
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                the defendants.” Id. The plaintiff did not file a renewed
                notice of appeal.

                    We held that we lacked jurisdiction because the
                plaintiff’s notice of appeal was premature and thus
                ineffective under the then-governing Federal Rules. Id.
                at 386–87; see also ante at 10 n.2. Because we construed the
                defendant’s motion as a Rule 59 motion, the plaintiff’s
                earlier notice of appeal was filed too early and was therefore
                void. Munden, 849 F.2d at 386–87. In reaching this
                conclusion, we relied on Whittaker, explaining that “the
                defendants challenged costs previously awarded on a
                substantive basis.” Id. at 387. Because the request at issue
                involved “substantive, not merely ministerial or clerical,
                relief,” Munden held that the defendants’ motion was
                effectively a motion under Rule 59 and was treated as such
                by the district court. Id.

                    It should be clear by this point in our discussion that the
                substantive-clerical distinction in Whittaker and Munden is
                not easily reconciled with Supreme Court precedent. The
                entire point of the trio of Supreme Court cases discussed
                above was to fashion a straightforward rule that “looks
                solely to the character of the issue that remains open after the
                court has otherwise ruled on the merits of the case.” See Ray
                Haluch Gravel Co., 571 U.S. at 188. Whittaker and Munden
                treated motions for costs as cognizable under Rule 59. The
                Supreme Court has made clear, however, that motions for
                costs and attorneys’ fees raise issues collateral to the
                judgment—“issues to which Rule 59(e) was never intended
                to apply.” See White, 455 U.S. at 451–52; Buchanan,
                485 U.S. at 268–69; Budinich, 486 U.S. at 200–03.

                   Whittaker was decided before the relevant Supreme
                Court decisions in this area. But Munden was decided after
                them and understandably has been criticized for failing to
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                mention White, Buchanan, or Budinich. See Lentomyynti Oy
                v. Medivac, Inc., 997 F.2d 364, 367 (7th Cir. 1993) (“The
                [Munden] court did not discuss any of the relevant Supreme
                Court cases.”). Munden also tried to distinguish our prior
                decision in Durham as a “narrow” case “seeking reallocation
                of costs requiring only clerical changes.” 849 F.2d at 387.
                But we question whether that was a fair reading of Durham,
                810 F.2d at 1503, a decision that was in accord with White,
                Buchanan, and Budinich, as well as other pre-existing circuit
                precedent.      See Int’l Ass’n of Bridge, Structural,
                Ornamental, & Reinforcing Ironworkers’ Local Union 75 v.
                Madison Indus., Inc., 733 F.2d 656, 658–59 (9th Cir. 1984)
                (adopting “bright-line rule” and rejecting “case-by-case
                approach” to whether “judgments finally disposing of the
                merits are final and appealable even though questions
                relating to attorney’s fees are unresolved”).

                    Although Whittaker and Munden are in obvious tension
                with Supreme Court precedent, this case does not require us
                to pronounce their ultimate fate. Whittaker and Munden,
                which involved costs motions, were decided before the 1993
                amendments to the Federal Rules, see Fed. R. Civ. P. 58(e);
                Fed. R. App. P. 4(a)(4)(A)(iii), which lay out the specific
                rules for the timing of notices of appeal in the context of
                motions for attorneys’ fees. Whittaker and Munden had no
                occasion to consider a motion for attorneys’ fees, much less
                Rule 58(e) or the related amendments to Federal Rule of
                Appellate Procedure 4(a)(4)(A). Today, it is those Rules that
                dictate when a fees motion can extend the time to appeal.
                See Ray Haluch Gravel Co., 571 U.S. at 186–87; Stephanie-
                Cardona, 476 F.3d at 705; Moody, 383 F.3d at 252–53; Cal.
                Med. Ass’n, 207 F.3d at 576.

                    Nutrition Distribution made no effort under Rule 58(e)
                to obtain—and did not obtain—an extension of the time to
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                appeal due to its filing of an attorneys’ fees motion. Its
                notice of appeal was therefore untimely as to the underlying
                judgment. See Stephanie-Cardona, 476 F.3d at 705.
                Although we question how Whittaker and Munden can
                remain good law, see Buchanan, 485 U.S. at 268–69,
                because this case involves a fees motion and not a costs
                motion, whether Whittaker and Munden can still govern
                motions for costs is a question for another day. It is enough
                here to hold that, under the 1993 amendments to the Federal
                Rules, an attorneys’ fees motion will not extend the time to
                appeal unless the district court orders that result under Rule
                58(e). Stephanie-Cardona, 476 F.3d at 705.

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                    Nutrition Distribution next argues that its attorneys’ fees
                motion can be reconstrued as a Rule 59 motion because the
                district court had previously rejected Nutrition
                Distribution’s fee request in its summary judgment decision.
                The suggestion is that although an attorneys’ fees motion
                usually cannot be recharacterized as a Rule 59 motion, it can
                be where there is an extant order denying fees. This theory
                again fails under the 1993 amendments to the Federal Rules
                and the decisions in White, Buchanan, and Budinich, which
                gave rise to them.

                    That the district court denied fees when ruling on
                summary judgment did not transform its initial fees ruling
                into part of the “judgment” to which a Rule 59 motion could
                apply. The earlier attorneys’ fees ruling once again “raise[d]
                legal issues collateral to the main cause of action—issues to
                which Rule 59(e) was never intended to apply.” White,
                455 U.S. at 451.

                     Other circuits confronting similar situations as here—
                i.e., an initial decision denying fees and a post-judgment
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                motion renewing the request for fees—have likewise held
                that the time to appeal the original judgment was not based
                on the denial of the later fees motion. See Yost v. Stout,
                607 F.3d 1239, 1243 (10th Cir. 2010) (“[The] ‘Motion to
                Alter or Amend Judgment’ did not challenge the district
                court’s judgment on the merits, but only challenged the
                court’s denial of fees. We therefore conclude that the motion
                concerned only a collateral issue—attorney’s fees—and was
                properly construed as a motion brought pursuant to Rule
                54(d) rather than Rule 59(e).”); Moody, 383 F.3d at 253
                (“[R]eading (4)(a)(4) and the rule it refers to—Rule 58—
                together, it is clear to us that any post-judgment motion
                addressing costs or attorney’s fees must be considered a
                collateral issue even when costs or attorney’s fees are
                included in a final judgment.”). These authorities as well
                confirm that under the Federal Rules, it is the character of a
                motion for attorneys’ fees, rather than its timing, that
                prevents us from recharacterizing Nutrition Distribution’s
                motion as a Rule 59 motion. See Ray Haluch Gravel Co.,
                571 U.S. at 188; Budinich, 486 U.S. at 200–03.

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                    Finally, Nutrition Distribution argues that by challenging
                the district court’s finding that the case was not
                “exceptional” under the Lanham Act, its post-judgment
                attorneys’ fees motion addressed “substantive” issues
                already adjudicated in the case. This, according to Nutrition
                Distribution, brings its motion for attorneys’ fees under the
                umbrella of Rule 59.

                   Nutrition Distribution’s argument on this point relies on
                Hairline Creations, Inc. v. Kefalas, 664 F.2d 652 (7th Cir.
                1981). In that case, the Seventh Circuit held that a post-
                judgment motions for attorneys’ fees under the Lanham Act
                should be treated as a Rule 59 motion, explaining that:
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                        whether a trademark case is “exceptional”
                        cannot be separated from whether trademark
                        rights have been violated or abused. This
                        identity of issues weds the determination of
                        attorneys’ fees to the final judgment. It is
                        because of this bond that a motion for fees
                        after judgment is necessarily a Rule 59(e)
                        motion to alter or amend the judgment.

                Id. at 659.

                    The Seventh Circuit believed that because any finding
                that the case was “exceptional” would conflict with the
                district court’s previous rulings in that case, “the attorneys’
                fees motion thus would have required reexamination of
                factual findings and legal conclusions in the judgment.” Id.
                This meant the motion was really a motion to alter or amend
                the judgment under Rule 59. Id.

                    Hairline is not easily reconciled with the Supreme
                Court’s later decisions in White, Buchanan, and Budinich.
                Those cases underscored the distinction between the
                judgment and an award of fees or costs under Rule 54(d).
                See White, 455 U.S. at 451–52; Buchanan, 485 U.S. at 268;
                Budinich, 486 U.S. at 200. In fact, Hairline relied on the
                First Circuit’s decision in White, which the Supreme Court
                later overruled. White, 455 U.S. at 451–52.

                    For these reasons, the Seventh Circuit has itself
                questioned whether Hairline survives the Supreme Court’s
                decisions in this area, calling Hairline an “outlier” and
                distinguishing it when possible. See Bittner v. Sadoff &
                Rudoy Indus., 728 F.2d 820, 827 (7th Cir. 1984), overruled
                on other grounds by McCarter v. Ret. Plan for Dist.
                Managers of Am. Fam. Ins. Grp., 540 F.3d 649 (7th Cir.
                2008); Exch. Nat’l Bank of Chi. v. Daniels, 763 F.2d 286,
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                293–94 (7th Cir.), amended on reh’g in part, 768 F.2d 140
                (7th Cir. 1985) (explaining that the circuit has “distinguished
                Hairline on razor-thin grounds,” referred to it an “outlier,”
                and “questioned whether it survived White”).

                    Other courts have also recognized that Hairline is
                inconsistent with later Supreme Court decisions. See SGS-
                Thomson Microelectronics, Inc. v. Int’l Rectifier Corp.,
                31 F.3d 1177 (Table) (Fed. Cir. 1994) (“Hairline was
                decided by the Seventh Circuit before Budinich and White
                and hence has little precedential value.”); Specht v. Google,
                Inc., 805 F. Supp. 2d 551, 556 (N.D. Ill. 2011) (“While
                Hairline Creations may technically still be viable, it appears
                relegated to the back corner of a locked closet, with the
                Seventh Circuit disregarding it.”).

                     Hairline’s endeavor to identify attorneys’ fees
                provisions that touch on the “substance” or “merits” of a case
                is inconsistent with the “bright-line” rule that attorneys’ fees
                issues are not part of the judgment. Budinich, 486 U.S.
                at 202. The Supreme Court in Budinich squarely rejected an
                approach “that requires the merits or nonmerits status of
                each attorney’s fee provision to be clearly established before
                the time to appeal can be clearly known.” Id. And we cannot
                revive a framework for assessing fee requests that conflicts
                with the 1993 amendments to the Federal Rules and the
                decision in Budinich on which those amendments were
                based.

                    Our decision in this regard aligns with Gnesys, Inc. v.
                Greene, 437 F.3d 482 (6th Cir. 2005), another Lanham Act
                case. In Gnesys, the notice of appeal was filed within
                30 days of the district court’s order granting attorneys’ fees
                under the Act’s “exceptional case” provision. Id. at 485. But
                the notice of appeal was filed more than 30 days after two
                other relevant orders in the case (for contempt and damages).
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                Id. In holding the appeal was untimely as to the contempt
                judgment and damages award, the Sixth Circuit relied on the
                “clear message of Budinich” to “reaffirm” that “a decision
                awarding attorney’s fees is not part of the merits for purposes
                of determining if the lower court issued a ‘final decision.’”
                Id. at 487. This was the result commanded by Budinich,
                “even if the attorney’s fees” at issue “are authorized by
                statute,” as they are under the Lanham Act. Id.

                   Gnesys, and not Hairline, is the more faithful application
                of Supreme Court precedent in the context of notices of
                appeal involving the Lanham’s Act “exceptional case”
                provision for attorneys’ fees.

                                                 III

                    Although its notice of appeal was untimely as to the
                district court’s December 13, 2018 judgment, the notice of
                appeal was timely filed within 30 days of the district court’s
                January 30, 2019 denial of attorneys’ fees. Fed. R. App.
                P. 4(a)(1)(A). We thus have jurisdiction to review the latter
                order. 4

                    As noted, the Lanham Act allows an award of attorneys’
                fees in “exceptional cases.” 15 U.S.C. § 1117(a). A denial
                of attorneys’ fees under this Act is reviewed for abuse of
                discretion. SunEarth, Inc. v. Sun Earth Solar Power Co.,
                839 F.3d 1179, 1180–81 (9th Cir. 2016) (en banc) (per
                curiam). We have held that because the Lanham Act
                “permits, but does not mandate, an award of attorneys’ fees”
                in “exceptional” circumstances, “[a] party alleging that the
                district court erred by failing to award attorneys’ fees under

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                      Nutrition Distribution’s unopposed motion for judicial notice is
                granted.
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                § 1117 faces an uphill battle.” Gracie v. Gracie, 217 F.3d
                1060, 1071 (9th Cir. 2000).

                    The district court did not abuse its discretion in denying
                fees. The district court found that Nutrition Distribution’s
                post-judgment motion for attorneys’ fees violated certain
                local rules. The district court also based its denial of fees on
                the fact that Nutrition Distribution had failed to show injury
                or damage resulting from IronMag’s advertising, or proof
                that IronMag had engaged in litigation misconduct or
                violated the district court’s injunction. These facts—
                combined with Nutrition Distribution’s decision to file over
                80 similar lawsuits in a three-year span—do not make this
                case “stand[] out from others” as “exceptional.” See
                SunEarth, 839 F.3d at 1180.

                                          *    *   *

                  We affirm the district court’s denial of attorneys’ fees.
                We otherwise dismiss the appeal for lack of jurisdiction.

                   DISMISSED IN PART AND AFFIRMED IN PART.
